Case: 6:17-cv-00157-CHB-HAI Doc #: 96 Filed: 10/24/18 Page: 1 of 4 - Page ID#: 1109



                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF KENTUCKY
                                          SOUTHERN DIVISION
                                                LONDON

                                                              )
     DAVID WILSON, as Administrator of the                    )
     Estate of Lisa Noble,                                    )           No. 6:17-CV-157-CHB-HAI
                                                              )
              Plaintiff,                                      )
                                                              )
     v.                                                       )                   ORDER
                                                              )
     BEACON TRANSPORT, LLC, and                               )
     TERRAN COOPER,
                                                              )
                                                              )
              Defendants.

                                                 *** *** *** ***

            Defendants seek relief that can only be granted upon a showing of good cause and

 excusable neglect.          But, despite being specifically instructed by the Court to address that

 standard, they have inexcusably neglected to do so. Their motion is therefore denied.

            Defendants move for leave to take certain depositions following the deadline to do so or,

 alternatively, certain sanctions. D.E. 93. Plaintiff has responded (D.E. 95), and the motion is

 therefore ripe for review (D.E. 90). Defendants seek to take the depositions of Selena Moore,

 Tammy Saylor, and Dr. David Douglas. Fact discovery closed in the case more than six months

 ago on April 2, 2018. D.E. 12 at 2. Per the requirements of the scheduling order in the case

 (D.E. 12 at 3-4), the undersigned conducted a pre-motion telephonic conference to discuss the

 dispute between the parties. D.E. 90. At the conclusion of the conference, Defendants were

 granted leave to file a motion seeking leave to conduct the depositions.1

            During the conference, the Court directed the parties numerous times to the requirements

 of Federal Rule of Civil Procedure 6(b)(1)(B). That Rule requires, in order to extend an expired
 1
     Leave was not granted to include the request for sanctions under Rule 37.

                                                            1
Case: 6:17-cv-00157-CHB-HAI Doc #: 96 Filed: 10/24/18 Page: 2 of 4 - Page ID#: 1110



 deadline, that the Court find both good cause and excusable neglect. The undersigned is bound

 by this Rule just as the parties are.

         The Rule applies to Defendants’ motion. The deadline to depose fact witnesses was

 April 2, 2018. D.E. 12 at 2. Moore and Saylor are unquestionably fact witnesses. Defendants

 characterize them as “lay” witnesses who purportedly were at the scene of the motor vehicle

 accident upon which Plaintiff’s claims in this case are based.            During the pre-motion

 teleconference, the defense characterized Dr. Douglas as a treating physician whose deposition

 was governed by the October 15, 2018 deadline for the completion of expert discovery. But,

 defense counsel conceded that Dr. Douglas was not disclosed as an expert by either party.

 Notably, Rule 26(a)(2)(C) requires even a treating physician to be disclosed as an expert if the

 witness will testify pursuant to Federal Rules of Evidence 702, 703, 705. Because Dr. Douglas

 was not disclosed as an expert, he cannot testify as such, and is therefore categorized as a “fact”

 witness only. Thus, Rule 6(b)(1)(B)’s good cause-excusable neglect standard applies to all the

 depositions at issue because Defendants seek leave to conduct those depositions well after the

 April 2, 2018 fact-discovery deadline.

         During the pre-motion teleconference, the undersigned discussed the good cause-

 excusable neglect standard several times and directed counsel for Defendants to specifically

 address that standard in the motion for leave. This was not a mere suggestion or option to

 pursue. The expired deadline can now only be extended by the Court if excusable neglect is

 established.

         Despite the clear and repeated instruction to address this standard, the motion nowhere

 mentions the governing Rule or its standard, and obviously does not make an argument that

 addresses the standard. Denial of the motion on that basis alone is appropriate. It is not the



                                                 2
Case: 6:17-cv-00157-CHB-HAI Doc #: 96 Filed: 10/24/18 Page: 3 of 4 - Page ID#: 1111



 Court’s obligation to scour the record to manufacture arguments that should have been presented

 to address the governing standard, especially when the motion does not even acknowledge that

 standard following an express instruction to do so. See McPherson v. Kelsey, 125 F.3d 989, 995-

 96 (6th Cir. 1997) (“[I]ssues adverted to in a perfunctory manner, unaccompanied by some effort

 at developed argumentation, are deemed waived. It is not sufficient for a party to mention a

 possible argument in the most skeletal way, leaving the court to . . . put flesh on its bones.”

 (quoting Citizens Awareness Network, Inc. v. U.S. Nuclear Regulatory Comm’n, 59 F.3d 284,

 293-94 (1st Cir. 1995))). Put bluntly, can a court find excusable neglect when a party has

 inexcusably neglected to address that standard? No.

        The Sixth Circuit has articulated five factors relevant to considering whether the party

 requesting an extension failed to act within the time originally allotted due to “excusable

 neglect”: “(1) the danger of prejudice to the nonmoving party; (2) the length of the delay and its

 potential impact on judicial proceedings; (3) the reason for the delay; (4) whether the delay was

 within the reasonable control of the moving party; and (5) whether the late-filing party acted in

 good faith.” Nafziger v. McDermott Intern., Inc., 467 F.3d 514, 522 (citing Pioneer Inv. Servs.

 Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S. 380, 395 (1993)).          “The determination of

 excusable neglect is ‘an equitable one, taking account of all relevant circumstances surrounding

 the party’s omission.’” Howard v. Nationwide Prop. & Cas. Ins. Co., 306 F. App’x 265, 266

 (6th Cir. 2009) (quoting Pioneer, 507 U.S. at 395). The multi-factor and equitable nature of this

 test highlights the difficulty the Court would have in trying to apply these factors when the

 motion does not specifically discuss them.

        Based upon the foregoing, Defendants’ motion for leave (D.E. 93) is DENIED.




                                                 3
Case: 6:17-cv-00157-CHB-HAI Doc #: 96 Filed: 10/24/18 Page: 4 of 4 - Page ID#: 1112



        The Court issues this Order resolving a non-dispositive pretrial matter under 28 U.S.C.

 § 636(b)(1)(A). Any party objecting to this Order should consult the statute and Federal Rule of

 Civil Procedure 72(a) concerning its right of and the mechanics for reconsideration before the

 District Court. Any objection shall be made within 14 days to the District Judge. Failure to

 object waives a party’s right to review.

        This the 24th day of October, 2018.




                                                4
